“ .*' Case: 1:04-cr-00778 Document #: 679 Filed: 12/05/11 Page 1 of 3 PageID #:2183 CLE >
JUDGMENT DEBTOR IN A CRIMINAL CASE

Issued by the
United States District Court
NORTHERN DISTRICT OF ILLINOIS

 

UNITED STATES OF AMERICA
CITATION TO DISCOVER ASSETS
V.
CASE NUMBER: 04 CR 778-1
WITOLD OSINSKI

TO: Witold Osinski, as

On November 2, 2011, the court entered judgment in favor of the United States and against Witold Osinski, and it remains unsatisfied
in the total amount of $1,296,825.33.

YOU ARE PROHIBITED from making or allowing any transfer or other disposition of, or interfering with, any property not exempt from execution
or garnishment belonging to you, the judgment debtor, or to which you may be entitled or which may be acquired by or become due to you,
the judgment debtor, and from paying over or otherwise disposing of any money not so exempt, which is due or becomes due to you, the judgment
debtor, until further order of court or termination of the proceedings. You are required to withhold the payment or transfer of any money or other
property no more than twice the amount of the unsatisfied judgment.

YOUR FAILURE TO APPEAR AND ANSWER AS HEREIN DIRECTED MAY CAUSE YOU TO BE ARRESTED AND BROUGHT
BEFORE THE COURT TO ANSWER TO A CHARGE OF CONTEMPT OF COURT, WHICH MAY BE PUNISHABLE BY
IMPRISONMENT.

CJ YOU ARE COMMANDED to appear in the United States District Court at the place, date, and time specified below to be
examined under oath to discover assets or income not exempt from the enforcement of the judgment.

 

PLACE OF TESTIMONY COURTROOM DATE AND TIME

 

 

 

xX YOU ARE COMMANDED to appear in the Office of the United States Attorney at the place, date, and time specified below to
be examined under oath to discover assets or income not exempt from the enforcement of the judgment.

PLACE OF TESTIMONY ; . DATE AND TIME
219 South Dearborn Street, 5th Floor, Chicago, Illinois 60604 January 12, 2012 at 2:00 p.m.

 

 

xX YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place,
date, and time specified above: See attached rider.

 

CERTIFICATE OF ATTORNEY MICHAEL W. DOBBINS, Clerk of the District Court

The undersigned certifies under penalties of perjury provided by law
(735 ILCS 5/1-109) that on November 2,.2011 judgment was entered
against the defendant i in the amount of $1,807, 348. 09 the United

 

 

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Melisa A. Childe ok tant United States Attorney, 219 S. Dearborn
(By) Denial Cie
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Street, 5th Floor, Chicago, Illinois 60604; (312) 353-5331.

 
 

 

 

 

 

 

 

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PROOF OF SERVICE
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DATE. 4:2 8G PLACE 2 7 Mee Cane ORV Ste oo oer? t& fe oe ©

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SERVED ON (PRINT NAME) MANNER OF SERVICE

WITOLD OSINSK/ IN PER Sen/
SERVED BY (PRINT NAME) TITLE

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DECLARATION OF SERVER

 

I declare under penalty of perjury under the laws of the United States of America that 1am over 21 years of age and the foregoing information contained in the

Proof of Service is true and correct.

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SIGNATURE OF SERVER “ £

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ATTORNEGS OF FICE

 

 

 

DATE 219 S$ PEARBORM, KIFTH FLoeR
CHICAGS 1C 6CO6°0Y¥
ADDRESS OF SERVER
Notice to judgment debtor pursuant to the Illinois Code of Civil Procedure § 2-1402(b)
CITATION NOTICE (3) Books and tools of a trade, business, or profession. necessary for the trade,

In the United States District Court
for the Northern District of Hlinois
219 S. Dearborm St., Chicago, Illinois

United States, Judgment Creditor
v.

Witold Osinski , Judgment Debtor

Amount of judgment: $1,807,548.00

This citation is directed to you, the judgment debtor.

NOTICE: The court has issued a citation against you, the judgment debtor. The
citation directs that you appear at the place designated above to be examined for
the purpose of allowing the judgment creditor to discover income and assets
belonging to you, the judgment debtor, or in which you, the judgment debtor,
has an interest. The citation was issued on the basis of a judgment against you,
the judgment debtor, in favor of the judgment creditor in the amount stated
above. On or after the date-stated above, the court may compel the application
of any discovered income or assets towatd payment on the judgment.

The amount of income or assets that may be applied toward the judgment for
criminal fines arid restitution is limited by federal and Illinois law. The
JUDGMENT DEBTOR HAS THE RIGHT TO ASSERT STATUTORY
EXEMPTIONS AGAINST CERTAIN INCOME OR ASSETS OF THE
JUDGMENT DEBTOR WHICH MAY NOT BE USED TO SATISFY THE
JUDGMENT IN THE AMOUNT STATED ABOVE.

Under federal law relating to the enforcement of judgments for criminal fines
and restitution, the property exempt from levy is:

(1) Wearing apparel! and school books necessary for the debtor or for his
family;

(2) Fuel, provisions, furniture, and personal effects in the debtor's household,
and for personal use, livestock, and poultry of the debtor, as does not exceed
$6,250 in value;

business, or profession of the debtor as do not exceed in the aggregate $3,125 in
value;

(4) Unemployment benefits payable to an individual with respect to his unemploy-
ment (including any portion thereof payable with respect to dependents).

(5) Undelivered mail to any person, which has not been delivered to the addressee.

(6) Certain annuity and pension payments under the Railroad Retirement Act,
benefits under the Railroad Unemployment Insurance Act, special pension
payments received by a petson whose name has been entered on the Army, Navy,
Air Force, and Coast Guard Medal of Honor roll, and annuities based on retired or
retainer pay under chapter 73 of title 10 of the United States Code.

(7) Workmen's compensation payable to an individual (including any portion
thereof payable with respect to dependents) under a workmen's compensation law.

(8) Judgments for support of minor children required by judgment of a court of
competent jurisdiction, entered prior to the date of levy, to contribute to the support
of his minor children

(9) Certain service-connected disability payments payable to an individual as a
service-connected (within the meaning of section 101(16) of title 38, United States
Code) disability benefit. .

(10) Assistance under Job Training Partnership Act. under the Job Training
Partnership Act (29 U.S.C. 1501 et seq.) from funds appropriated pursuant to such
Act.

(See 18 U.S.C. § 3613(a) and 26 U.S.C. § 6334.)

THE JUDGMENT DEBTOR HAS THE RIGHT AT THE CITATION HEARING
TO DECLARE EXEMPT CERTAIN INCOME OR ASSETS OR BOTH. The
judgment debtor also has the right to seek a declaration at an earlier date, by
notifying the clerk in writing at 219 S. Dearborn, 20" Floar, Chicago, Mlinois
60604, When so notified, the Clerk of the Court will obtain a prompt hearing date
from the court and will provide the necessary forms that must be prepared by the
judgment debtor or the attorney for the judgment debtor and sent to the judgment
creditor and the judgment creditor's attorney regarding the time and location of the
hearing. .

 
 

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Rider to the Citation to Discover
Assets served on the Judgment Debtor
in United States v. Witold Osinski, Case No. 04 CR 778-1

Produce all documents and things in your possession or control concerning the following list of items:
Statements of account for the last 7 years, and bankbooks, passbooks, or checkbooks for any type of
financial account in which you, the judgment debtor, have any interest and is maintained by or for you in
a bank, savings and loan, securities firm, brokerage firm, or any other financial institution.

Your state and federal income tax returns for the last 7 years.

Applications for loans or credits.

Applications for insurance for real or personal property.

Financial statements, both audited and unaudited, for the last 7 years.

General ledger and/or accounting records for the last 7 years.

Any listing of accounts receivable, including loans or debts payable to you.

Any listing of real or personal property.

Safety deposit boxes.

Stock certificates, bonds, certificates of deposit and any other security instrument.

Promissory notes or any other records of money due you.

Titles to motor vehicles, boats or any other titled personal property.

Titles to real estate.

Beneficial interests in trusts.

Interests in partnerships.

Pay checks or pay stubs for the last 12 months.

Any interest in a pension, retirement, deferred compensation or profit-sharing fund.

Any life insurance policy in which you are the policy’s insured or beneficiary.

Any document identified in paragraphs 1 through 18 for any business (i.e., sole proprietorship, LLP, LLC,
partnership, or corporation) in which you or your spouse is an owner, member, general partner, or majority

shareholder.

Any other documents which may contain information concerning your property, income, or indebtedness
due you.
